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                                                          DOCUMENT                         I.
UNITED STATES DISTRICT COURT                         I.   ELE~TRONICAllY FILED I
SOUTHERN DISTRICT OF NEW YORK
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DEVORAH LUNGER,
                                aintiff,
                                                          11 Civ. 7552      (DLC)
                  -v-
                                                                    ORDER
UNION OF ORTHODOX JEWISH CONGREGATIONS
OF AMERICA (ORTHODOX UNION)     I


                         Defendant.

                                             - -X

DENISE COTE, District Judge:

     The Court has been advised that the parties in this FLSA

action have reached a settlement.             FLSA requires that

employers who violate the requirement that overtime wages be

paid, pay not only the unpaid overtime compensation but also an

additional equal amount as liquidated damages.              In the event the

settlement is for less than this amount, the settlement must be

scrutinized by the Court to ensure that it is fair.                     liott v.

Allstate Investigations, Inc., No. 07 Civ. 6078             (DLC)   I   2008 WL

728648 (S.D.N.Y. Mar. 19, 2008).        Moreover, because this lawsuit

was filed as a putative class action, the Court must determine

whether the named plaintiff has used the class action claim to

prejudice absent class members.             at *2.   Accordingly,             is

hereby
         Case 1:11-cv-07552-DLC Document 20 Filed 02/14/12 Page 2 of 2




     ORDERED that the part       s shall submit letters by February

28, 2012 addressing the issues described in Elliott and

explaining why this settlement should be approved.

     SO ORDERED:

Dated:      New York/ New York
            February 14, 2012


                                               D
                                      United St               ct Judge




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